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                           UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA (Allentown)


SERGEY YELETSKIY


                             Plaintiff,            NO.    5:19-cv-01328


               v.


JOSHUA A. MILLER, et al.                          JURY TRIAL DEMANDED


                             Defendants.


                                          STIPULATION

                                        TH
       AND NOW this              I fD           day of   __  A_�_r_:_i  __       , 2019, it is


hereby STIPULATED and AGREED, by and between all pertinent parties, by and through their


undersigned counsel, that Plaintiff may Respond to Co-Defendants' Motion to Dismiss, or File


an Amended Complaint, by May 16, 2019.



WEISBERG LAW                                      LAVERY LAW



Isl Matthew B. Weisberg                           Isl Joshua M. Autry
Matthew B. Weisberg, Esquire                      Joshua M. Autry, Esquire
Attorney for Plaintiff                            Attorney for Co-Defendants, Joshua A.
                                                  Miller, Michael McLouth, and Bushkill
                                                  Township Police Department



       AND IT IS SO ORDERED.


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                                                  Hon. Edward G. Smith
